                        UNITED STATES DISTRICT COURT
                                                for
                    EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

U.S.A. vs. Walter Lee Cline, Jr.                                     Docket No. 5:01-CR-15-1H

                         Petition for Action on Supervised Release

        COMES NOW Van R. Freeman, Jr., probation officer ofthe court, presenting a petition for
modification ofthe Judgment and Commitment Order of Walter Lee Cline, Jr., who, upon an earlier
plea of guilty to 21 U.S.C. § 846, Conspiracy to Distribute and Possess with Intent to Distribute 50
Grams of Cocaine Base (Crack), was sentenced by the Honorable Malcolm 1. Howard, Senior U.S.
District Judge, on January 7,2002, to the custody ofthe Bureau ofPrisons for a term of 120 months.
It was further ordered that upon release from imprisonment the defendant be placed on supervised
release for 60 months under the standard conditions adopted by the court and the following
additional conditions:


1.     The defendant shall participate as directed in a program approved by the probation office for
       the treatment of narcotic addiction, drug dependency, or alcohol dependency which will
       include urinalysis testing or other drug detection measures and may require residence or
       participation in a residential treatment facility.

2.     The defendant shall participate in a program of mental health treatment, as directed by the
       probation office.

3.     The defendant shall consent to a warrantless search by a United States Probation Officer or,
       atthe request ofthe probation officer, any other law enforcement officer, ofthe defendant's
       person and premises, including any vehicle, to determine compliance with the conditions of
       this judgment.

4.     While under supervision in the Eastern District ofNC, the defendant shall participate in the
       DROPS Program and, in response to detected illegal drug use, shall be confined in the
       custody of the Bureau of Prisons for a period not to exceed 30 days of intermittent
       confinement, as arranged by the probation office, in the following increments: First Use ­
       Two Days; Second Use - Five Days; Third Use - Ten Days.


        On July 7, 2004, the court reduced his sentence to 80 months, based on the government's
motion for downward departure pursuant to Federal Rule of Criminal Procedure 35 (b). Walter Lee
Cline, Jr. was released from custody on November 15, 2006, at which time the term of supervised
release commenced.




      Case 5:01-cr-00015-H          Document 126         Filed 07/12/10       Page 1 of 3
Walter Lee Cline Jr.
Docket No. 5:01-CR-15~lH
Petition For Action
Page 2



       On May 11,2010, based on the defendant's failure to report as instructed, the court modified
his supervision to include the following condition:


1.     The defendant shall abide by all conditions and terms of the home detention program for a
       period not to exceed 120 consecutive days. The defendant shall be restricted to his residence
       at all times except for pre-approved and scheduled absences for employment, education,
       religious activities, treatment, attorney visits, court appearances, court obligations or other
       activities as approved by the probation officer. The defendant shall wear an electronic
       monitoring device and follow electronic monitoring procedures specified by the probation
       officer.


    RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR
CAUSE AS FOLLOWS:


       The defendant has been unemployed for several months. To assist him in his efforts to find
employment, we recommend that his supervision be modified by addition the conditions listed
below. The defendant signed a Waiver of Hearing agreeing to the proposed modification of
supervision.


       PRAYING THAT THE COURT WILL ORDER that supervised release be modified
as follows:


1.     The defendant shall participate in a vocational training program as directed by the probation
       office. Such program may include job readiness training and skills development training.

2.     The defendant shall participate in a cognitive behavioral program as directed by the
       probation office.

3.     The offender shall participate in an educational services program as directed by the
       probation officer. Such program may include OED preparation, English as a Second
       Language classes, and other classes designed to improve the offender's proficiency in skills
       such as reading, writing, mathematics, or computer use.




      Case 5:01-cr-00015-H          Document 126          Filed 07/12/10       Page 2 of 3
Walter Lee Cline Jr.
Docket No. 5:01-CR-15-1H
Petition For Action
Page 3


       Except as herein modified, the judgment shall remain in full force and effect.


Reviewed and approved,                              I declare under penalty of perjury that the
                                                    foregoing is true and correct.


 lsI Robert L. Thornton                              lsI Van R. Freeman. Jr.
Robert L. Thornton                                  Van R. Freeman, Jr.
Supervising U.S. Probation Officer                  Senior U.S. Probation Officer
                                                    310 Dick Street
                                                    Fayetteville, NC 28301-5730
                                                    Phone: (910) 483-8613
                                                    Executed On: July 8, 2010


                                       ORDER OF COURT

                                 /1.-rJt.y of    ....J;) ~         , 20 I0, and ordered filed and
                             n the above case.


Malcolm 1. Howard
Senior U.S. District Judge




      Case 5:01-cr-00015-H           Document 126       Filed 07/12/10      Page 3 of 3
